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   8                                UNITED STATES DISTRICT COURT
   9                          SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    UNITED STATES OF AMERICA,                                 CASE NO. 10cv1567/06cr1242
  12                                          Plaintiff,
  13                          vs.                                 ORDER DENYING
                                                                  DEFENDANT’S MOTION UNDER
  14                                                              28 U.S.C. § 2255
        JESUS ANTONIO ARMENTA,
  15                                                              [Docket No. 678]
                                           Defendant.
  16
  17          This case returns to the Court on Defendant’s motion to set aside, vacate or correct his sentence
  18   pursuant to 28 U.S.C. § 2255. The Government has filed a response to the motion, and Defendant has
  19   filed a reply. After reviewing the motion, opposition, reply, and all supporting documents and the
  20   record on file herein, the Court denies the motion.
  21                                                       I.
  22                                             BACKGROUND
  23          On June 6, 2006, the Government filed an Indictment against Defendant Jesus Antonio Armenta
  24   alleging he violated 21 U.S.C. §§ 846 and 841(a)(1), conspiracy to distribute methamphetamine.
  25   Defendant was arrested on July 7, 2006, and appeared in Court for his arraignment on that date.
  26   Defendant pled guilty to the one count on September 19, 2007. On May 23, 2008, the Court sentenced
  27   Defendant to 210 months in custody followed by five (5) years supervised release. Defendant appealed
  28   ///


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   1   his sentence to the United States Court of Appeal for the Ninth Circuit, which affirmed his sentence.
   2   Defendant filed the present motion on May 13, 2010.
   3                                                       II.
   4                                                 DISCUSSION
   5             Defendant’s motion raises a host of issues, but the Court discerns three primary arguments.
   6   First, Defendant asserts his sentence was unreasonable. Second, Defendant argues his sentence violates
   7   the Eighth Amendment’s proscription against cruel and unusual punishment. Third, Defendant contends
   8   the Court erred in finding Defendant ineligible for safety valve consideration.
   9   A.        Reasonableness
  10             In response to Defendant’s first argument, the Government asserts that argument may not serve
  11   as the basis for the present motion because it was raised and decided during Defendant’s appeal. The
  12   Court agrees, see United States v. Hayes, 231 F.3d 1132, 1139 (9th Cir. 2000), and thus declines to
  13   address this argument any further.
  14   B.        Eighth Amendment
  15             “To violate the Eighth Amendment, ‘a sentence within the limits set by a valid statute ... [must
  16   be] so grossly out of proportion to the severity of the crime as to shock our sense of justice.’” United
  17   States v. Estrada-Plata, 57 F.3d 757, 762 (9th Cir. 1995) (quoting United States v. Cupa-Guillen, 34 F.3d
  18   860, 864 (9th Cir. 1994)). “Ordinarily, however, where the sentence imposed is within the limits
  19   prescribed by the statute for the offense committed, it will not be regarded as cruel and unusual.” Black
  20   v. United States, 269 F.3d 38, 43 (9th Cir. 1959) (citing Edwards v. United States, 206 F.2d 855 (10th Cir.
  21   1953)).
  22             Here, Defendant was sentenced to a term within the limits provided by the statute. See 21 U.S.C.
  23   § 841(b)(1)(A). Defendant fails to explain why or how this sentence was grossly disproportionate to
  24   his crime. Accordingly, this argument does not warrant the granting of the motion.
  25   C.        Safety Valve
  26             Finally, Defendant argues the Court erred in determining he was ineligible for safety valve
  27   consideration. The Government points out, however, that Defendant did not assert he was safety valve
  28   eligible. Accordingly, since “[t]he defendant bears the burden of proving safety valve eligibility by a


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   1   preponderance of the evidence[,]” United States v. Mejia-Pimental, 477 F.3d 1100, 1104 (9th Cir. 2007),
   2   the Court did not err in declining to address Defendant’s safety valve eligibility.
   3                                                     III.
   4                                              CONCLUSION
   5          For these reasons, Defendant’s motion pursuant to 28 U.S.C. § 2255 is denied.
   6          IT IS SO ORDERED.
   7   DATED: March 22, 2011
   8
   9                                                   HON. DANA M. SABRAW
                                                       United States District Judge
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